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15                     UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
16
                                 (San Diego)
17
18 AL OTRO LADO, Inc., et al.,              Case No. 3:23-cv-01367-AGS-BLM
19                           Plaintiffs,    Hon. Andrew G. Schopler
20
                       v.                 DEFENDANTS’ OPPOSITION
21                                        TO PLAINTIFFS’ MOTION FOR
22 Alejandro MAYORKAS, Secretary, De- PROVISIONAL CLASS CERTIFI-
   partment of Homeland Security, et al., CATION (ECF No. 37)
23
24                           Defendants.    Hearing Date: October 13, 2022
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1                                      INTRODUCTION
2           Plaintiffs seek provisional class certification solely for purposes of obtaining
3     preliminary injunctive relief. The Court should deny this request. Not only does the
4     Immigration and Nationality Act (INA) preclude the classwide injunctive relief they
5     seek, but the underlying premise of their proposed class claim—that Defendants
6     have a borderwide policy or practice of turning back certain noncitizens from ports
7     of entry to the United States—is defeated by the evidence. Without any borderwide
8     policy, Plaintiffs cannot establish that their claims are capable of classwide resolu-
9     tion or typical of those of the proposed class.
10          Plaintiffs ask the Court to provisionally certify a class of noncitizens who pre-
11    sent themselves at a Class A Port of Entry (POE) on the U.S.-Mexico border and are
12    “denied access to the U.S. asylum process by or at the instruction of Defendants on
13    or after May 12, 2023.” Mem. in Support of Mot. for Class Certification (ECF No.
14    37-1) (Mem.) at 21. In support of this request, Plaintiffs assert that Defendant U.S.
15    Customs and Border Protection (CBP) has a borderwide policy to turn back class
16    members who have not prescheduled their arrival at the POE through an appointment
17    system. Mem. at 5. They currently seek to certify a class only with respect to their
18    Accardi theory, which asserts that the claimed “turnbacks” violate CBP’s stated pol-
19    icy that appointments are not required for noncitizens without documents sufficient
20    for admission who seek to enter the United States at a POE to be inspected and pro-
21    cessed. Mem. in Support of Mot. for Preliminary Injunction (ECF No. 39-1) (PI
22    Mem.) at 12-18. Yet, contrary to these assertions, the evidence demonstrates that
23    CBP regularly inspects and processes those without appointments at POEs across
24    the border. Moreover, despite the sweeping nature of Plaintiffs’ allegations, their
25    claims and proffered evidence of “turnbacks” actually focus primarily on one POE.
26    Plaintiffs’ evidence also reveals material differences in how noncitizens without ap-
27    pointments are treated at different POEs, eliminating any possibility that the Court
28    can resolve their claims in a single, uniform order, as required by Rule 23.


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1           Plaintiffs’ request to certify a class should be rejected at the threshold because
2     Congress has precluded entry of classwide injunctions, like the one requested here,
3     that interfere with or impose requirements on the government’s implementation of
4     its immigration inspection obligations. Plaintiffs’ proposed class also does not sat-
5     isfy the requirements of 23(a) or (b)(2). First, Plaintiffs do not present evidence to
6     show that their proposed class is sufficiently numerous because they do not show
7     that noncitizens have been “denied access to the U.S. asylum process,” rather than
8     having to wait some period of time for inspection at a POE, like any other applicant
9     for admission. Next, Plaintiffs cannot identify a common question sufficient to drive
10    resolution of their Accardi-based claim because the evidence defeats a finding of a
11    common policy or practice across all Class A POEs, and because differences in prac-
12    tice across the border are material to resolution of that claim. Similarly, the Plain-
13    tiffs’ individual claims—which involve only 3 of the 25 POEs, and which are subject
14    to individual variation—are not typical of the claims of putative class members bor-
15    derwide. Nor do Plaintiffs present any evidence that they will pursue their claims
16    vigorously on behalf of the class, particularly now that they have entered the United
17    States and been processed. Finally, the class does not satisfy Rule 23(b)(2) because
18    Defendants have not acted in a common manner across the class such that a single
19    injunction would be appropriate, and because the final injunctive relief Plaintiffs
20    seek is nonetheless precluded by statute. The Court should deny Plaintiffs’ Motion.
21                                STATEMENT OF FACTS
22    A.    Ports of Entry on the U.S.-Mexico Land Border.
23          CBP’s Office of Field Operations (OFO) is responsible for “coordinat[ing] the
24    enforcement activities of U.S. Customs and Border Protection at United States air,
25    land, and sea ports of entry.” 6 U.S.C. § 211(g). These statutory obligations—in-
26    cluding but not limited to deterring and preventing entry of terrorists; guarding
27    against illegal entry of individuals, illicit drugs, agricultural pests, and contraband;
28    and facilitating and expediting the flow of legitimate travelers and trade, id.—apply


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1     at all U.S. POEs, including the 25 land POEs on the U.S.-Mexico border. Those 25
2     POEs fall under the jurisdictions of four different field offices. The San Diego Field
3     Office covers the San Ysidro (Tijuana),1 Tecate, Otay Mesa, Calexico (Mexicali),
4     and Andrade border POEs. See Defs.’ Ex. 12 at ¶ 5. The Tucson Field Office covers
5     the San Luis, Douglas, Naco, Sasabe, Lukeville, and Nogales border POEs. See
6     Defs.’ Ex. 2 at ¶ 2. The El Paso Field Office covers the Santa Teresa, Columbus,
7     Presidio, Ysleta, Marcelino Serna (Tornillo), and El Paso (Ciudad Juarez) border
8     POEs. See Defs.’ Ex. 3 at ¶¶ 6–12. The Laredo Field Office covers the Laredo
9     (Nuevo Laredo), Roma, Del Rio (Ciudad Acuna), Brownsville (Matamoros), Eagle
10    Pass (Piedras Negras), Hidalgo (Reynosa), Rio Grande City, and Progreso border
11    POEs. See Defs.’ Ex. 4 at ¶¶ 9–13.
12    B.    Metering, the Al Otro Lado I Order, and Subsequent Guidance.
13          In 2016, facing a sustained surge of migrants without documents sufficient for
14    admission (undocumented noncitizens) arriving at land POEs on the U.S.-Mexico
15    border to seek admission to the United States, CBP’s land POEs began to implement,
16    as needed, a practice known as metering (or queue management) to manage the flow
17    of these high numbers of noncitizens. Metering was implemented to assist in provid-
18    ing a safe and secure environment for all travelers, including migrants, and to pre-
19    vent severe strains on border resources and diversion of those resources from crucial
20    missions, including national security. See generally Al Otro Lado, Inc. v. Mayorkas,
21    No. 17-CV-02366-BAS-KSC, 2021 WL 3931890, at *2-4 (S.D. Cal. Sept. 2, 2021).
22    In April 2018, CBP issued a Metering Guidance memorandum that provided: “When
23    necessary or appropriate to facilitate orderly processing and maintain the security of
24    the port and safe and sanitary conditions for the traveling public, DFOs [Directors
25
26    1
        Because Plaintiffs’ proffered evidence often refers to the name of the Mexican
      town or city across the border from the U.S. POE, Defendants include the Mexican
27    city/town name in parentheses where helpful to the Court’s understanding.
      2
28      “Defs.’ Ex.” refers to Defendants’ Exhibits, attached to the accompanying Decla-
      ration of Katherine Shinners.

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1     of Field Operations] may elect to meter the flow of travelers at the land border to
2     take into account the port’s processing capacity.” Id. at *3. In June 2018, the Depart-
3     ment of Homeland Security (DHS) issued a memorandum instructing CBP to “to
4     prioritize staffing and operations” at southwest-border POEs in the following order
5     of priority: “(1) national security efforts, (2) counter-narcotics operations, (3) eco-
6     nomic security, and (4) trade and travel facilitation,” and to use queue management
7     as necessary to protect these priority missions. Id. CBP issued additional prioritiza-
8     tion-based queue management and metering guidance in 2019 and 2020. See id. at
9     *4.
10          Plaintiff Al Otro Lado and other individual plaintiffs challenged metering and
11    other practices, claiming that CBP had engaged in what they termed “turnbacks” at
12    Class A POEs along the U.S.-Mexico Border. See generally Second Am. Compl., Al
13    Otro Lado v. Mayorkas (AOL I), No. 17-cv-2366, ECF No. 189 (Nov. 13, 2018).
14    Plaintiffs claimed this conduct was unlawful on several grounds, including that CBP
15    and DHS had an obligation to inspect and process noncitizens who approach a POE,
16    even if they are not yet in the United States, and because the agency action was
17    purportedly based on pretextual assertions of lack of capacity. See id. The govern-
18    ment argued, on the other hand, that CBP did not owe any inspection and referral
19    duties to those who are not yet within U.S. territory, and that the agency’s actions
20    were reasonable and not pretextual. See, e.g., Al Otro Lado, 2021 WL 3931890, at
21    *2. After certifying a class, the AOL I Court considered the plaintiffs’ claims on
22    summary judgment. Id. at *2. While the court’s September 2, 2021 summary-judg-
23    ment order did not address Plaintiffs’ claims of pretext, it found that “turnbacks” of
24    asylum-seekers through metering, prioritization-based queue management, and sim-
25    ilar practices that occur without express statutory authority constitute a withholding
26    of CBP’s duty under the Immigration and Nationality Act (INA) to inspect and refer
27    asylum seekers pursuant to 8 U.S.C. §§ 1225(a)(3), (b)(1)(A)(ii). Id. at *18. The
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1      AOL I court described the “turnbacks” at issue in the litigation as CBP officers “af-
2      firmatively turning asylum seekers away from the border” through a variety of prac-
3      tices. Id. at *9. The court did not define the “turnbacks” addressed in its opinion to
4      include coordination “with Mexican officials to ‘control the flow’ of migrants seek-
5      ing asylum before they reached the border.” Id.; see also id. at 22 n.20. The court
6      determined that the “turnbacks” at issue were unlawful because they require a
7      noncitizen to leave and then “arrive again” at the POE in order to pursue asylum. Id.
8      at *17-18. It is for this reason that the court determined that these turnbacks consti-
9      tute a withholding (rather than delay) of the required agency actions of inspection
10     and referral. Id. at *15-18. The court subsequently entered a declaratory judgment
11     on the basis of this ruling but determined that a classwide injunction was prohibited
12     under 8 U.S.C. § 1252(f)(1), because any such order would enjoin or restrain CBP’s
13     efforts to operate 8 U.S.C. § 1225. Al Otro Lado v. Mayorkas, 619 F. Supp. 3d 1029,
14     1045 (S.D. Cal. 2022), judgment entered, 2022 WL 3970755 (S.D. Cal. Aug. 23,
15     2022).
16           In November 2021, DHS and CBP rescinded their 2018 and 2019 meter-
17     ing/queue management memoranda, and the Acting CBP Commissioner issued new
18     guidance titled “Guidance for Management and Processing of Undocumented
19     Noncitizens at Southwest Border Land Ports of Entry” (Nov. 1, 2021) (“November
20     2021 Guidance”). Pls.’ Ex. 1 & Defs.’ Ex. 5, Ex. A. The November 2021 Guidance
21     recognized that “the ability to process undocumented noncitizens in a timely manner
22     is impacted by a wide range of factors,” and instructed southwest-border OFO man-
23     agement “to consider and take appropriate measures, as operationally feasible, to
24     increase capacity to process undocumented noncitizens at Southwest Border POEs,
25     including those who may be seeking asylum and other forms of protection,” includ-
26     ing by leveraging technological and processing efficiencies, such as the use of the
27     CBP One mobile application (“CBP One”) to collect advance information from in-
28     tending entrants. Id. at 1, 2. The guidance provides that migrants seeking protection


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1      “cannot be required to submit advance information in order to be processed at a
2      Southwest Border land POE.” Id. at 2. The guidance states that “POEs must strive
3      to process all travelers, regardless of documentation status, who are waiting to enter,
4      as expeditiously as possible, based on available resources and capacity.” Id. The
5      memo allows CBP to staff the border line to manage safe and orderly travel into the
6      POE, but “undocumented noncitizens who are encountered at the border line should
7      be permitted to wait in line, if they choose, and proceed into the POE for processing
8      as operational capacity permits.” Id. “Absent a POE closure, officers also may not
9      instruct travelers that they must return to the POE at a later time or travel to a differ-
10     ent POE for processing.” Id. Finally, the guidance acknowledges that “[b]ased on
11     past, current, and expected volumes of individuals seeking entry at Southwest Bor-
12     der land POEs, there may be extended wait times in processing lines.” Id. at 3.
13     C.    The Title 42 Orders and The Circumvention of Lawful Pathways Rule.
14           While AOL I was pending, the COVID-19 pandemic altered the processing of
15     undocumented noncitizens at POEs. From March 20, 2020, until May 11, 2023, most
16     noncitizens without entry documents who sought to enter the United States at its
17     borders were prevented from entry at the border line or, if they entered irregularly,
18     were subject to expulsion, under a series of public health orders in effect to combat
19     the pandemic (“Title 42 Orders”). See, e.g., Public Health Reassessment and Order
20     Suspending the Right to Introduce Certain Persons from Countries Where a Quaran-
21     tinable Communicable Disease Exists, 86 Fed. Reg. 42,828 (Aug. 5, 2021). These
22     Title 42 Orders were thus in place at the time the metering memoranda were re-
23     scinded and the November 2021 guidance issued. See Pls.’ Ex. 1 at 1. Under the
24     Title 42 Orders, covered noncitizens were generally stopped at the border or expelled
25     to Mexico or their home countries without processing under the INA, including pro-
26     cessing for asylum. Such noncitizens were, however, able to be considered for an
27     exception to the Title 42 Orders on a case-by-case basis. 86 Fed. Reg. at 42,829.
28     Beginning in 2021, CBP implemented a mechanism under which noncitizens could


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1      schedule appointments to be considered for Title 42 exceptions. Non-governmental
2      organizations began using CBP One for this purpose in mid-2021, and the applica-
3      tion was made available directly to noncitizens for this purpose in January 2023. Pl.
4      Ex. 13 ¶¶ 11–24.
5            In early 2023, the President announced the expiration of the public health
6      emergency on May 11, 2023, which would cause the then-operative Title 42 order
7      to end. See Circumvention of Lawful Pathways (NPRM), 88 Fed. Reg. 11,704,
8      11,708 (Feb. 23, 2023). The end of the Title 42 Order was expected to cause the
9      number of migrants seeking to illegally enter the United States at the southwest bor-
10     der to rise to or remain at all-time highs—an estimated 11,000 migrants daily. See
11     Circumvention of Lawful Pathways, 88 Fed. Reg. 31,314, at 31,331 (May 16, 2023).
12     To address this expected increase in the number of migrants at the southwest border
13     seeking to enter the United States without authorization, the Department of Justice
14     and DHS promulgated the Circumvention of Lawful Pathways Rule (“CLP Rule”).
15     Id.at 31,314, 31,324; see also 88 Fed. Reg. at 11,704. The CLP Rule was effective
16     as of May 11, 2023, and provides that most noncitizens who enter the United States
17     during the next two years at the southwest land border or adjacent coastal borders
18     after traveling through a country other than their native country are subject to a re-
19     buttable presumption of ineligibility for asylum unless they avail themselves of or-
20     derly processes for entry into the United States or seek and are denied protection in
21     a third country. 88 Fed. Reg. at 31,321–23. The presumption does not apply to un-
22     accompanied minors, and other noncitizens may be excepted from the presumption
23     if they seek and are denied protection in a third country through which they traveled
24     en route to the United States, were “provided appropriate authorization to travel to
25     the United States to seek parole, pursuant to a DHS-approved parole process”;
26     “[p]resented at a port of entry, pursuant to a pre-scheduled time and place”; or “pre-
27     sented at a port of entry without a pre-scheduled time and place” but can “demon-
28     strate[] by a preponderance of the evidence that it was not possible to access or use


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1      the DHS scheduling system due to language barrier, illiteracy, significant technical
2      failure, or other ongoing and serious obstacle.” 8 C.F.R. §§ 208.33(a)(2),
3      1208.33(a)(2). Noncitizens who are otherwise subject to presumptive asylum ineli-
4      gibility may also rebut the presumption by demonstrating that “exceptionally com-
5      pelling circumstances exist.” Id. §§ 208.33(a)(3), 1208.33(a)(3). Noncitizens who
6      cannot rebut the presumption are still considered for statutory withholding of re-
7      moval and protection under the Convention Against Torture (CAT) and may not be
8      removed to a country where it is likely that they will be persecuted on account of a
9      protected ground or tortured. See id. §§ 208.33(b)(2), 1208.33(b)(2)(ii), (4); 88 Fed.
10     Reg. at 11,733.
11           The CLP Rule aims to reduce irregular migration and to correspondingly de-
12     crease crowding in border facilities and avoid projected severe strains on DHS bor-
13     der resources and facilitate safe, humane processing. See, e.g., 88 Fed. Reg. at
14     31,324. It does so by encouraging migrants to seek asylum or protection in other
15     countries or take advantage of lawful, safe, and orderly migration pathways to enter
16     the United States by generally conditioning the discretionary grant of asylum on mi-
17     grants’ availing themselves of such pathways (or demonstrating exceptionally com-
18     pelling circumstances). Id. at 31,235. Thus, noncitizens who have already traveled
19     to Mexico with the intent of entering the United States can avoid the presumption of
20     asylum ineligibility by pre-scheduling an appointment to present at a POE for or-
21     derly processing. 8 C.F.R. §§ 208.33(a)(1), 1208.33(a)(1). CBP currently uses CBP
22     One to allow noncitizens to make such appointments. 88 Fed. Reg. at 31,317. For
23     this purpose, CBP One allows “noncitizens located in Central or Northern Mexico
24     who seek to travel to the United States” to “submit information in advance and
25     schedule an appointment to present themselves at” eight southwest-border POEs:
26     Nogales, Brownsville, Eagle Pass, Hidalgo, Laredo, El Paso, Calexico, and San
27     Ysidro.    See    “Advance      Submission      and    Appointment        Scheduling,”
28     https://www.cbp.gov/about/mobile-apps-directory/cbpone (last visited Sept. 13,


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1      2023). Use of appointments allows these POEs to manage the flow of migrants with-
2      out documents sufficient for admission into the POE facility, efficiently allocate bor-
3      der enforcement resources, and streamline processing through advanced vetting for
4      public safety and national security concerns, thus reducing overall burdens on im-
5      migration enforcement at the border. 88 Fed. Reg. at 31,318; Defs.’ Ex. 5 at ¶¶ 8–9,
6      11–12. As the CLP Rule’s preamble states, an appointment is “not a prerequisite to
7      approach a POE . . . [or be] inspected or processed,” but use of a CBP One appoint-
8      ment will allow noncitizens to avoid the presumption of asylum ineligibility and
9      avoid “waiting in long lines of unknown duration at POEs.” 88 Fed. Reg. at 31,317-
10     18, 31,332, 31,365.
11           In July, a U.S. District Court in California vacated the CLP Rule, East Bay
12     Sanctuary Covenant v. Biden, 2023 WL 4729278 (N.D. Cal. July 25, 2023), but that
13     order has been stayed pending appeal. See East Bay Sanctuary Covenant, No. 23-
14     16032 (9th Cir. Aug. 3, 2023).
15     D.    Current CBP Processing of Undocumented Noncitizens.
16           Although appointments made through CBP One enhance CBP’s ability to pro-
17     cess noncitizens without documents sufficient for admission by streamlining the re-
18     source-intensive process, CBP’s policy remains that noncitizens without documents
19     sufficient for admission may not be turned away absent a port closure. E.g., Defs.’
20     Ex. 5 at ¶¶ 6–7. POEs at which CBP One appointments are scheduled prioritize the
21     processing of those with appointments, but these and other Class A POEs continue
22     to process noncitizens without appointments. Between May 12 and August 23, 2023,
23     noncitizens without appointments made up approximately 29 % of the total number
24     of noncitizens without entry documents processed by OFO at southwest-border
25     POEs. See Defs.’ Ex. 5 at ¶ 10. At the 8 POEs that process CBP One appointments,
26     the number is approximately 27 %. See id.
27           Tucson Field Office. Of the six Class A land POEs in the Tucson Field Office,
28     only the Nogales POE processes noncitizens with CBP One appointments. Both


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1      Plaintiffs’ and Defendants’ evidence demonstrates that the Nogales POE is regularly
2      processing noncitizens without CBP One appointments from a physical line that be-
3      gins at the DeConcini entrance to the POE, and which began to form after the Title
4      42 Order ended. See, e.g., Defs.’ Ex. 2 at ¶ 10; Defs.’ Ex. 6 at 9; Pls.’ Ex. 5 ¶ 9; Pls.’
5      Ex. 10 ¶¶ 8, 10.3 As Defendants’ evidence shows, the remaining POEs in the Tucson
6      Field Office—where there are no CBP One appointments—are also processing un-
7      documented noncitizens. See Defs.’ Ex. 2 at ¶ 11; Defs.’ Ex. 6 at 8. No named Plain-
8      tiff alleges having been turned back from the Nogales POE or any other POE within
9      the Tucson Field Office.
10           San Diego Field Office. Of the five Class A land POEs in the San Diego Field
11     Office, San Ysidro and Calexico schedule CBP One appointments. Defs.’ Ex. 1 at
12     ¶¶ 5, 17. At San Ysidro, the busiest land border crossing in the western hemisphere,
13     noncitizens with CBP One appointments generally enter and are processed at the
14     Pedestrian West entrance. Id. ¶¶ 6, 17. Those without CBP One appointments typi-
15     cally present at the Pedestrian East entrance, although they are accepted at both en-
16     trances. See id. ¶ 17. Contrary to Plaintiffs’ allegations, the San Ysidro and Calexico
17     POEs inspect and process noncitizens without CBP One Appointments, including
18     those who present at the other three POEs in the Field Office (Otay Mesa, Tecate,
19     and Andrade) and are transported to the San Ysidro and Calexico POEs for pro-
20     cessing. See id. ¶¶ 17–19; Defs.’ Ex. 7 at 10–11; see also Defs.’ Opp. to Mot. for
21     Prelim. Inj. (PI Opp.) at 17. On May 19, one week after the Title 42 Order ended,
22
       3
23       The Declaration of Caitlyn Yates states that at Nogales, noncitizens without ap-
       pointments “are being processed via allowances by” Mexico’s immigration agency,
24     INM. Pls.’ Ex. 24 at ¶ 12(b). But that statement contradicts the contents of the
25     CAMPI Report the declarant purports to summarize, which does not mention “INM
       allowances” at all with respect to the Nogales POE. Instead, it states that such noncit-
26     izens are processed “via a physical line at the port of entry,” see Defs.’ Ex. 6 at 9.
       Further, it appears from Plaintiffs’ evidence that Mexican municipal authorities, not
27     INM, undertook to create a waitlist for those without appointments waiting at
28     Nogales, and Plaintiffs do not allege that CBP has any involvement in that waitlist.
       See Pls.’ Ex. 10 at ¶13.

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1      the Assistant Port Director of the San Ysidro POE, after receiving media inquiries
2      concerning accounts of CBP Officers turning away noncitizens who lacked appoint-
3      ments, asked supervisors to issue daily reminders that a “[n]oncitizen without docu-
4      ments sufficient for entry to the United States should be advised that they may wait
5      to be processed or they may utilize CBP One™ to obtain an appointment to present
6      at the POE for processing. Under no circumstances will these individuals be turned
7      away, redirected, or discouraged from waiting to be processed.” Defs.’ Ex. 1 at ¶ 12
8      & Ex. C.
9            Laredo Field Office. The Laredo Field Office encompasses eight POEs, four
10     of which schedule CBP One appointments: Laredo, Hidalgo (Reynosa), Brownsville
11     (Matamoros), and Eagle Pass (Piedras Negras). See Defs.’ Ex. 4 at ¶¶ 9–13. As with
12     the other field offices, the Laredo Field Office has reminded its staff of their obliga-
13     tions to process noncitizens consistent with all applicable guidance. Id. ¶¶ 13–14.
14     All eight POEs process noncitizens who approach without CBP One appointments
15     as capability permits. Id. ¶¶ 9(d), 10(d), 11(e), 12(d), 13; cf. Defs.’ Ex. 5 at ¶ 10. No
16     named Plaintiffs or any other declarants allege to have been affirmatively turned
17     back by CBP officers or otherwise at any of these POEs.
18           El Paso Field Office. Of the six Class A land POEs in the El Paso Field Office,
19     only El Paso schedules CBP One appointments. Defs.’ Ex. 3 at ¶¶ 7-12, 17. There
20     are three crossings at El Paso: the Paso del Norte bridge, the Bridge of the Americas,
21     and the Stanton crossing. Id. ¶ 3. Noncitizens with CBP One appointments present
22     at the Paso del Norte bridge. Id. ¶ 17. One Plaintiff claims to have been told by CBP
23     Officers at the Paso del Norte Bridge that he “could not apply for asylum without a
24     CBP One appointment.” Pls.’ Ex. 9 at ¶ 9. Plaintiffs also cite to reports of incidents
25     at El Paso in which CBP Officers instructed noncitizens without appointments who
26     had crossed onto U.S. soil to wait at the international boundary or told them that they
27     needed an appointment. See Pls.’ Ex. 23 at ¶¶ 15-16. However, the POEs within the
28


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1      El Paso Field Office inspect and process noncitizens without CBP One Appoint-
2      ments. Defs.’ Ex. 3 at ¶ 19; see also Defs.’ Ex. 5 at ¶ 10 (citing numbers of nonciti-
3      zens without a pre-scheduled arrival processed at the El Paso POE).
4                                          ARGUMENT
5            A party seeking class certification must satisfy the four elements of Rule
6      23(a): (1) the class is so numerous that joinder of all members is impracticable; (2)
7      there are questions of law or fact common to the class; (3) the claims or defenses of
8      the class representatives are typical of the claims or defenses of the class; and (4) the
9      class representatives will fairly and adequately protect the interests of the class. Fed.
10     R. Civ. P. 23(a). “[A]ctual, not presumed, conformance with Rule 23(a) [is] indis-
11     pensable.” Gen. Telephone Co. of the Southwest v. Falcon, 457 U.S. 147, 160 (1982).
12     These class certification requirements are generally “intimately involved with the
13     merits of the claims,” and “a district court must consider the merits if they overlap
14     with the Rule 23(a) requirements.” Ellis v. Costco Wholesale Corp., 657 F.3d 970,
15     980, 981 (9th Cir. 2011). “What matters to class certification … is not the raising of
16     common ‘questions’—even in droves—but, rather the capacity of a classwide pro-
17     ceeding to generate common answers apt to drive the resolution of the litigation.”
18     Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). The party seeking certi-
19     fication must also satisfy one of the elements of Rule 23(b); here, that “the party
20     opposing the class has acted or refused to act on grounds generally applicable to the
21     class, so that final injunctive relief or corresponding declaratory relief is appropriate
22     respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2). “The party seeking class
23     certification bears the burden of demonstrating that the requirements of Rules 23(a)
24     and (b) are met.” United Steel Workers v. ConocoPhillips Co., 593 F.3d 802, 807
25     (9th Cir. 2010). Failure to meet “any one of Rule 23’s requirements destroys the
26     alleged class action.” Rutledge v. Elec. Hose & Rubber Co., 511 F.2d 668, 673 (9th
27     Cir. 1975). Here, Plaintiffs’ proposed class does not satisfy any of these require-
28     ments.


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1      I.    Provisional Class Certification Should Be Denied Because the Underlying
2            Requested Relief is Unavailable on a Classwide Basis.
             Plaintiffs’ Motion should be denied because Congress has precluded district
3
       courts from issuing the classwide injunctive relief Plaintiffs seek. Thus, the Court
4
       cannot certify a class “for the purposes of obtaining preliminary injunctive relief.”
5
       Mem. at 1. Specifically, 8 U.S.C. 1252(f)(1) bars the issuance of relief “on behalf of
6
       an entire class of aliens” that requires, commands, positively directs, or interferes
7
       with, the implementation of any provision of 8 U.S.C. §§ 1221-1231. Garland v.
8
       Aleman Gonzalez, 142 S. Ct. 2057, 2064-65, 2067-68 (2022); Reno v. Am.-Arab
9
       Anti-Discrimination Comm., 525 U.S. 471, 481-82 (1999). Plaintiffs’ requested in-
10
       junction, which would prohibit what Plaintiffs term “turnbacks” with respect to a
11
       class of noncitizens, seeks to compel inspection under the covered provision 8
12
       U.S.C. § 1225(a)(3), the prerequisite to processing for an appropriate disposition un-
13
       der covered provisions 8 U.S.C. §§ 1225(b) and 1229a. See Defs.’ Opp. to Mot. for
14
       Prelim. Inj. (PI Opp.) at 22. As Plaintiffs’ requested injunction thus runs afoul of
15
       § 1252(f)(1), the Court lacks the authority or jurisdiction to certify a class for pur-
16
       poses of entering that injunction.
17
       II.   Plaintiffs Have Not Satisfied Their Burden to Demonstrate Numerosity.
18
             Numerosity requires the Court to determine whether the class is so numerous
19
       that it would make joinder impracticable, Fed. R. Civ. P. 23(a)(1), which “depends
20
       on the facts and circumstances of each case.” Arnold v. United Artists Theatre Cir-
21
       cuit, Inc., 158 F.R.D. 439, 448 (N.D. Cal. 1994). “Generally, the numerosity factor
22
       is satisfied if the class comprises 40 or more members and courts will find that it has
23
       not been satisfied when the class comprises 21 or fewer.’” McCurley v. Royal Seas
24
       Cruise, Inc., 331 F.R.D. 142, 167 (S.D. Cal. 2019) (cleaned up). Here, Plaintiffs
25
       define their class as noncitizens who present at a Class A POE on the U.S.-Mexico
26
       border “and who are or will be denied access to the U.S. asylum process by or at the
27
       instruction of Defendants on or after May 12, 2023.” Defendants do not concede that
28


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1      the number of noncitizens who have been “denied access” to the asylum process
2      since May 12, 2023, is sufficiently numerous to support certification.
3             Plaintiffs do not attempt to even estimate the number of noncitizens who have
4      been “denied access” to the asylum process whose claims are still live, or who will
5      prospectively be “denied access.” Plaintiffs argue they can rely on “reasonable in-
6      ferences,” and “general common sense” to show numerosity, Mem. at 13-14, but the
7      evidence does not support the inference that “hundreds, if not thousands of” noncit-
8      izens will prospectively be denied access to the asylum process by CBP officers
9      affirmatively turning them away or telling them appointments are required to seek
10     asylum. See Mem. at 14. Instead, the evidence presented by Plaintiffs shows that a
11     small number of noncitizens assert that this has happened, but that, generally, noncit-
12     izens without appointments may at certain POEs have to wait in line to be processed,
13     may determine that they prefer to seek an appointment rather than wait in line, or
14     may be subject to exit controls by Mexican authorities. See supra at 9-12; infra at
15     16-20. Although Plaintiffs may intend the term “denied access” to have a broader
16     meaning (they do not expressly define the term), Defendants do not concede that a
17     noncitizen who is permitted to wait to enter the POE to be processed is denied access
18     to the asylum process. Here, unlike in the AOL I decisions Plaintiffs cite, Defendants
19     do not concede the existence of a practice implemented sufficiently broadly to sup-
20     port an inference that numerous noncitizens will be subject to it. See Al Otro Lado,
21     Inc. v. Wolf, 336 F.R.D. 494, 501 (S.D. Cal. 2020) (noting concession of existence
22     of metering policy).4
23     III.   Plaintiffs Cannot Identify a Common Question That Would Drive Reso-
24            lution of this Litigation.
              Even if the class were defined broadly enough to be sufficiently numerous,
25
       there is no common question capable of providing common answers across that
26
27     4
        Plaintiffs are also incorrect that Defendants conceded numerosity as to the “denial
28     of access” class in AOL I. See Al Otro Lado, 336 F.R.D. at 501 (noting that Defend-
       ants argued that the proposed class “does not meet the numerosity requirement”).

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1      class. To satisfy Rule 23(a)(2)’s commonality requirement, the proposed class mem-
2      bers must “have suffered the same injury.” Wal-Mart Stores, Inc., 564 U.S. at 350.
3      This does not mean that class members merely “suffered a violation of the same
4      provision of law” or raise some common questions. Id.; Ellis, 657 F.3d at 981 (“[I]t
5      is insufficient to merely allege any common question ... .”). Rather, class members’
6      claims must depend upon a common contention, the determination of which “will
7      resolve an issue that is central to the validity of each one of the claims in one stroke.”
8      Wal-Mart Stores, Inc., 564 U.S. at 350. Thus, “[w]hat matters to class certifica-
9      tion ... is not the raising of common ‘questions’—even in droves—but, rather the
10     capacity of a classwide proceeding to generate common answers apt to drive the
11     resolution of the litigation.” Id. Although “[t]he existence of shared legal issues with
12     divergent factual predicates” can establish commonality, Hanlon v. Chrysler Corp.,
13     150 F.3d 1011, 1019 (9th Cir. 1998), where a plaintiff alleges that there is a “com-
14     mon pattern and practice that could affect the class as a whole,” plaintiffs must pro-
15     vide evidence that the common policy or practice actually exists; otherwise, there is
16     “no question common to the class.” Ellis, 657 F.3d at 983 & n.7 (citing Wal-Mart
17     Stores, Inc., 564 U.S. at 355–56)); see also Lightfoot v. D.C., 273 F.R.D. 314, 326
18     (D.D.C. 2011) (commonality cannot be established by identifying “a constellation
19     of disparate but equally suspect [alleged] practices ... distilled from the varying ex-
20     periences of the class” and then asking the Court to enjoin them all as a “policy or
21     custom”).
22           Here, the evidence defeats Plaintiffs’ assertion that there is a common policy
23     or practice of “turnbacks” that can be evaluated on a common basis under an Accardi
24     theory for compliance with CBP’s internal policies. There is no borderwide “CBP
25     One Turnback Policy” under which CBP officers allegedly turn back, or direct others
26     to turn back, noncitizens from Class A POEs if they do not have a CBP One appoint-
27     ment. See Mem. at 5; Compl. ¶ 5. First, OFO has affirmed, at a headquarters level,
28     that its policies and practices continue to conform with its November 2021 guidance


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1      and statements in the preamble to the CLP Rule: undocumented noncitizens are not
2      required to schedule a CBP One appointment in order to be processed, and such
3      noncitizens may not be turned away from POEs. See Defs.’ Ex. 5 at ¶¶ 6–7. The data
4      showing that noncitizens without appointments are being processed across all four
5      Southwest-border field offices supports that assertion. See supra at 9. POEs have
6      also issued reminders to their staff that noncitizens without appointments may not
7      be turned away. Defs.’ Ex. 1 at ¶¶ 13-15 & Exs. C-D; see also Defs.’ Ex. 4 at ¶ 14.
8            To the extent that Plaintiffs argue there is nonetheless an informal pattern or
9      practice of turnbacks that violate CBP’s stated policies, the evidence again shows
10     this is not the case. The practices Plaintiffs allege vary by region or by POE. The
11     majority of the individual Plaintiffs’ claims center on the San Diego Field Office,
12     which contains the San Ysidro and Otay Mesa POEs. Of the nine individual Plain-
13     tiffs who seek to represent the proposed class, seven claim to have been refused
14     access (or directed or encouraged to use CBP One) by officers at the San Ysidro or
15     Otay Mesa POEs. See Pls.’ Exs. 2-8; see also Pls.’ Exs. 17, 21. One Plaintiff claims
16     to have been turned back at the Paso del Norte pedestrian entrance to the El Paso
17     POE. Pls.’ Ex. 9 at ¶ 9. No named Plaintiffs or any other noncitizen declarant allege
18     having been turned back at any POEs within the Nogales or Laredo Field Offices.
19     Indeed, one Plaintiff (Natasha Doe) does not claim to have been turned back at all;
20     Natasha Doe instead decided not to approach the Eagle Pass (Piedras Negras) POE
21     on the advice of other migrants she encountered. Pls.’ Ex. 14 ¶¶ 11-12; see also
22     Mem. at 16 (acknowledging that Natasha Doe was not turned back).
23           There are thus, at a minimum, Field-Office-level differences in practices that
24     are material to resolution of the proposed class claim. At the Nogales POE, for in-
25     stance, noncitizens without appointments wait in, and are taken into the port from, a
26     physical line at the entry to the POE. Supra at 9-10. No named Plaintiff or other
27     noncitizen declarant alleges having been turned back from the Nogales POE or any
28     other POE within the Tucson Field Office, nor do Plaintiffs’ other exhibits contain


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1      evidence of turnbacks in that Field Office. Although Plaintiffs allude in their briefs
2      to evidence of “turnbacks” at Nogales, see Mem. at 8 (citing Pls.’ Ex. 10 at ¶ 12),
3      the cited evidence does not support this characterization. The cited declaration refers
4      to two incidents that the declarant did not witness firsthand, neither of which consti-
5      tute evidence of CBP Officers affirmatively turning someone away from the POE.
6      The first constitutes someone being told to use a different pedestrian entrance,5 and
7      the second is a vaguely-described interaction between a Mexican woman and a CBP
8      Officer that contains no indication that the CBP Officer affirmatively turned the
9      woman back. See Pls.’ Ex. 10 at ¶ 12.
10           No named Plaintiff or any other declarant witness allege to have been affirm-
11     atively turned back at a POE within the Laredo Field Office that processes CBP One
12     appointments. Plaintiffs do not make clear what their legal theory is with respect to
13     this Field Office, but they assert that Mexican immigration officials are controlling
14     physical entry to the four POEs that take CBP One appointments and are making
15     “allowances” for those without appointments to cross the pedestrian bridges to the
16     U.S. POEs to be processed. See Pls.’ Ex. 24 at ¶ 12(b); Pls.’ Ex. 19 at ¶ 29; Pls.’ Ex.
17     25 at p. 46 (describing INM access controls at Brownsville (Matamoros) and Hi-
18     dalgo (Reynosa) and acknowledging that those without appointments who made it
19     past such checks were processed by CBP after a wait). Plaintiffs do not provide any
20     evidence regarding the remaining four POEs.
21           Plaintiffs argue that these differences in practice at the POEs across the border
22     do not destroy commonality because they are merely “slight variations in how class
23     members experience the government’s failure to comply with its own regulations or
24     guidance.” Mem. at 15. That is not so.
25           First, these differences go to the heart of whether CBP actually has a common
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27
       5
28      The Nogales POE is one port consisting of 3 pedestrian entrances: DeConcini,
       Morely, and Mariposa . Defs.’ Ex. 2 at ¶ 9.

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1      practice or policy to begin with. As in Ellis, where regional differences in how em-
2      ployees were treated were crucial to whether there were any common questions as
3      to a nationwide class in an employment discrimination case, here, the existence of a
4      common practice or policy that extends to all four CBP OFO Field Offices is crucial
5      to the commonality inquiry for the proposed borderwide class. Ellis, 657 F.3d at
6      983-84 (“If no such nationwide discrimination exists, Plaintiffs would face an ex-
7      ceedingly difficult challenge in proving that there are questions of fact and law com-
8      mon to the nationwide class.”). And the evidence of differing practices here—in-
9      cluding the absence of evidence of CBP turnbacks in the Nogales and Laredo Field
10     Offices—negate a finding of a borderwide practice or policy.
11           Second, even if these varying practices could be considered to be some varia-
12     tion on “turnbacks” (they cannot), these differences would be material to the resolu-
13     tion of the Accardi claim because they affect the inquiry into whether CBP has failed
14     to comply with its stated policy. See B.K. v. Snyder, 922 F.3d 957, 976 (9th Cir.
15     2019) (finding district court abused discretion in certifying subclass on theory of
16     failure to comply with the Medicaid statute where it was not clear that the elements
17     of the claim could be evaluated on a classwide basis). For instance, whether Mexican
18     officials’ actions which impact access to the bridge to a U.S. POE violates CBP’s
19     stated policy—which applies only to CBP Officers—requires a different factual and
20     legal inquiry than whether CBP officials’ conduct violates that policy. Further,
21     claims arising from Mexican officials’ conduct is subject to particular defenses such
22     as the act-of-state doctrine, see Sea Breeze Salt, Inc. v. Mitsubishi Corp., 899 F.3d
23     1064, 1069 (9th Cir. 2018), and cannot be redressed in this action because the effec-
24     tiveness of relief depends entirely on the unforeseeable actions of a foreign country.
25     Dellums v. U.S. Nuclear Regul. Comm’n, 863 F.2d 968, 976 (D.C. Cir. 1988). And
26     coordination between CBP or DHS and the Government of Mexico regarding mi-
27     gration would in any event present a non-justiciable political question. See Corrie v.
28     Caterpillar, Inc., 503 F.3d 974, 982 (9th Cir. 2007) (“The conduct of the foreign


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1      relations of our government is committed by the Constitution to the executive and
2      legislative [branches] . . . and the propriety of what may be done in the exercise of
3      this political power is not subject to judicial inquiry or decision.”) (alteration in orig-
4      inal). Similarly, whether the physical line of undocumented noncitizens without ap-
5      pointments at the Nogales POE violates CBP’s stated policies presents another en-
6      tirely different inquiry, particularly given that CBP’s November 2021 Guidance and
7      the CLP Rule acknowledge that there may be long lines for processing. See Pls.’ Ex.
8      1 at 2, 3; 88 Fed. Reg. at 31,317-18, 31,332, 31,365. Thus, unlike in the civil rights
9      cases Plaintiffs cite—and unlike in AOL I—there is no underlying core practice that
10     can be evaluated on a common basis against a regulatory, statutory, or constitutional
11     requirement in a way that will generate common answers.
12           Additionally, even when examining alleged turnbacks within one Field Of-
13     fice, individual differences in language used by CBP Officers may be material to
14     whether CBP Officers are complying with the stated policy. Seven of the named
15     Plaintiffs and two unidentified declarants allege they were not permitted access by
16     CBP Officers to the San Ysidro or Otay Mesa POEs or were told that a CBP One
17     appointment was required to seek asylum. See Pls.’ Ex. 2 at ¶ 11; Pls.’ Ex. 3 at ¶¶
18     13-14; Pls.’ Ex. 4 at ¶ 13; Pls.’ Ex. 5 ¶ 14; Pls.’ Ex. 6 at ¶¶ 16-17; Pls.’ Ex. 7 at ¶ 14;
19     Pls.’ Ex. 8 at ¶¶ 13-14; Pls.’ Ex. 17 at ¶¶ 15-16 (encounter allegedly occurred on
20     May 12); Pls.’ Ex. 21 (encounters allegedly occurred between May 12 and May 19).
21     However, it is often unclear whether these individuals are attesting they were affirm-
22     atively turned back by U.S. government officials or whether they are instead attest-
23     ing they were not immediately allowed to cross the border or were encouraged or
24     decided to use CBP One to avoid having to wait in line, which would be consistent
25     with CBP policy. See Pls.’ Ex. 1. For example, Diego Doe states that he was not
26     allowed to proceed into the San Ysidro POE at the Pedestrian East entrance, but he
27     does not explain whether he was permitted to wait in line to enter at a later time.
28     Pls.’ Ex. 5 at ¶ 14. Guadalupe and Somar Doe acknowledged that Guadalupe Doe


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1      was told at the San Ysidro POE that she could wait in line to be processed, but they
2      both determined not to wait in line. Pls.’ Ex. 3 at ¶¶ 9-10, Pls.’ Ex. 4 at ¶¶ 8-9.6 These
3      differences both belie the existence of a uniform policy or practice and demonstrate
4      the existence of individual differences in each class member’s claim that are material
5      to whether each event constitutes an Accardi violation, because it is consistent with
6      CBP Policy to manage intake at the border line. See Pls.’ Ex. 1 at 2.
7            Plaintiffs may claim that what tethers the putative class members’ claims is
8      that they were all “denied access” to the asylum process. However, for the same
9      reasons already discussed, noncitizens who are subject to different practices at dif-
10     ferent Field Offices have not “suffered the same [legal] injury” for purposes of the
11     Accardi claim, because the relevant injury is defined by whether CBP has complied
12     with its stated policies.7 Thus, there is no common question capable of generating
13     answers that are common to the class and will “drive the resolution of the litigation.”
14     6
         Further, Plaintiffs submitted at Exhibit 12 six native audio files that purport to cor-
15     respond to certain of the named Plaintiffs’ experiences in July 2023 at the San Ysidro
       and Otay Mesa POEs, see Pls.’ Ex. 11 at ¶¶ 5-13, but the metadata indicates that the
16     files were last modified before July 2023, on September 4, 2022 (as to the files titled
17     “Chaparral POE 7.25.23 – 8_15 am” and “Chaparral POE - in the Plaza -MX Immi-
       gration Officer - 7.25.23 – 8_34 am”), September 5, 2022 (as to “San Ysidro POE
18     7.26.23 7_41 am”), January 20, 2023 (as to “TJ POE (San Ysidro) 7.17.23 5pm.”),
19     and January 21, 2023 (as to “TJ POE (San Ysidro) 7.18.23” and “TJ POE (Otay)
       7.18.23”). Defs.’ Ex. 8 at ¶¶ 3-4. The issues raised in these motions should not be
20     decided on a preliminary basis where further discovery into the authenticity of these
       audio files, including forensic examination, may be required. As the metadata at least
21     calls into question that the audio files are what they purport to be, the Court cannot
22     rely on these files or the corresponding information in the declarations and should
       thus deny the instant motions for preliminary classwide injunctive relief. See Sali v.
23     Corona Reg’l Med. Ctr., 909 F.3d 996, 1006 (9th Cir. 2018) (holding that the court
       may consider at class certification whether the plaintiff’s proof is, or will likely lead
24     to, admissible evidence).
       7
25       Moreover, it would be improper to equate “denial of access” to non-compliance
       with the policy. And Plaintiffs cannot evade the commonality requirement by defin-
26     ing their class in a manner that presumes liability. See Ruiz Torres v. Mercer Can-
       yons Inc., 835 F.3d 1125, 1138 n.7 (9th Cir. 2016) (“[D]efining the class to include
27     only those individuals who were ‘injured’ . . . threatens to create a fail safe class,
28     one that is defined so narrowly as to preclude membership unless the liability of the
       defendant is established.”) (cleaned up).

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1      Wal-Mart, 564 U.S. at 350.
2            Plaintiffs’ proffered “common questions” do not satisfy Rule 23(a)(2). “Any
3      competently crafted class complaint literally raises common questions.” See Wal-
4      Mart, 564 U.S. at 349 (cleaned up). Again, the question is whether those questions
5      are capable of generating common answers that will drive resolution of the litigation.
6      Plaintiffs argue that “[w]hether an agency is correctly interpreting and enforcing its
7      own regulations is a common question of law and fact sufficient for class certifica-
8      tion.” Mem. at 15. But there is no question here of agency interpretation or enforce-
9      ment of regulations; rather, the question presented by Plaintiffs is whether CBP is
10     complying with policy guidance, statements in a regulatory preamble, and the “struc-
11     ture” of a regulation. PI Mem. at 5. Regardless, as explained, the differences in prac-
12     tices on the ground mean that the precise policy-interpretation question will vary at
13     least by Field Office, and this is thus not a common question in this context. Plain-
14     tiffs also suggest that “whether Defendants have adopted a policy of turning back
15     arriving noncitizens who do not have a CBP One appointment” is a common ques-
16     tion. Mem. at 2. This, however, is an example of a threshold question intertwined
17     with the merits that must be resolved before certifying a class. See B.K., 922 F.3d at
18     974-75. To establish commonality across the class, Plaintiffs must demonstrate that
19     Defendants have adopted such a policy. If the class were to be certified and this
20     question later resolved in a judgment in Defendants’ favor, that would hardly be fair
21     to class members who may have individual Accardi claims based on isolated con-
22     duct, but who are now bound by that classwide judgment. Finally, “whether class
23     members are harmed by Defendants’ refusal to follow their own Binding Guidance,”
24     Mem. at 2, is not a common question because it presumes non-compliance. Unlike
25     in certain Eighth Amendment or substantive due process cases, a “risk” of harm is
26     not a key element of the substantive claim; instead, an Accardi claim requires a
27     showing of actual prejudice, which is a different, individualized inquiry into the im-
28     pact of the failure to follow policy on the outcome of an administrative proceeding.


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1      Compare B.K., 922 F.3d at 968-69 with Carnation Co. v. Sec’y of Labor, 641 F.2d
2      801, 804 & n.4 (9th Cir. 1981) (the Accardi supervisory power should only be in-
3      voked where there is a showing of prejudice). Whether each putative class member
4      can show any prejudice to their immigration processing is a highly individualized
5      inquiry. But even if prejudice could be evaluated on a classwide basis, this would
6      not drive resolution of the claim.
7            Plaintiffs thus have not established commonality as to the proposed class.
8      IV.   The Named Plaintiffs’ Claims Are Not Typical of the Putative Class.
9            Typicality requires a party to show that “the claims or defenses of the repre-
10     sentative parties are typical of the claims or defenses of the class.” Fed. R. Civ. P.
11     23(a)(3). This requirement “assure[s] that the interest of the named representative
12     aligns with the interests of the class.” Wolin v. Jaguar Land Rover N. Am., LLC, 617
13     F.3d 1168, 1175 (9th Cir. 2010). “The test of typicality is whether other members
14     have the same or similar injury, whether the action is based on conduct which is not
15     unique to the named plaintiffs, and whether other class members have been injured
16     by the same course of conduct.” Id. This requirement “derives its independent legal
17     significance from its ability to screen out class actions in which the legal or factual
18     position of the representatives is markedly different from that of other members of
19     the class even though common issues of law or fact are present.” Marcus v. BMW of
20     North America, LLC, 687 F.3d 583, 598 (3d Cir. 2012) (internal quotation omitted).
21     Thus, “a class representative must be part of the class and possess the same interest
22     and suffer the same injury as the class member.” Falcon, 457 U.S. at 156. A named
23     plaintiff does not satisfy the typicality requirement when his “unique background
24     and factual situation require him to prepare to meet defenses that are not typical of
25     the defenses which may be raised against other members of the proposed class.”
26     Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992).
27           Here, for the same reasons that the proposed borderwide class lacks common-
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1      ality, the named Plaintiffs cannot satisfy the typicality requirement because their ex-
2      periences were different from those experienced in other Field Offices. The named
3      Plaintiffs claim to have been refused access or encouraged to use CBP One by CBP
4      Officers at the San Ysidro, Otay Mesa, and El Paso POEs. See Pls.’ Exs. 2-9. For
5      the reasons discussed (supra § III), the analysis and resolution of whether CBP has
6      followed its policy in San Diego or El Paso will be different, for example, from those
7      who approached the Nogales POE and waited to be processed. These two scenarios
8      present different Accardi claims. The named Plaintiffs cannot represent noncitizens
9      who present at POEs in the Nogales and Laredo Field Offices.
10           Moreover, the government can raise factual defenses to certain individual
11     Plaintiffs’ claims based on the “factual situation[s]” of each Plaintiff. See Hanon,
12     976 F.3d at 508; Ellis, 657 F.3d at 984. Natasha Doe’s claim is subject to a complete
13     standing defense because she does not even assert that she was turned back or af-
14     firmatively denied access at any POE. See Pls.’ Ex. 14. Diego Doe states that he
15     interacted with a CBP Officer, but he does not assert that he was affirmatively turned
16     back, only that he was not permitted to immediately proceed into the POE. See Pls.
17     Ex. 5 at ¶ 14. To the extent any Plaintiff bases their claim on the assertion that they
18     were turned back by Mexican authorities (allegedly “at the instruction of” CBP), see
19     Mem. at 17; Pls.’ Ex. 2 at ¶ 9; Pls.’ Ex. 7 at ¶ 12, this claim is subject to an act-of-
20     state doctrine defense based on the Mexican government’s decision to intercept
21     them. See Sea Breeze Salt, 899 F.3d at 1069. And each of the named Plaintiff’s in-
22     dividual claims are moot because they have already entered the United States. Defs.’
23     Ex. 5 at ¶¶ 18–19. The existence of such defenses to the named Plaintiffs’ claims
24     defeats typicality. See Ellis, 657 F.3d at 984–85 (discussing unique factual defenses).
25     V.    The Named Plaintiffs are Not Shown to Be Adequate Representatives.
26           Plaintiffs have also not presented evidence that the named Plaintiffs would
27     “vigorously represent” the interests of the class as required by Rule 23(a)(4). See
28     Spinelli v. Capital One Bank, 265 F.R.D. 598, 614 (M.D. Fla. 2009). The nature of


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1      class certification under Rule 23(b)(2) amplifies the need to confirm the commitment
2      of the class representatives, because members of a Rule 23(b)(2) class are not af-
3      forded the right to opt out of the class and are bound by any judgment. See Crawford
4      v. Honig, 37 F.3d 485, 487 n.2 (9th Cir. 1994), as amended on denial of reh'g (Jan.
5      6, 1995) (“In a Rule 23(b)(2) class action for equitable relief, the due process rights
6      of absent class members generally are satisfied by adequate representation
7      alone.”). Plaintiffs have not submitted a sworn statement from any proposed class
8      representative regarding their willingness to accept the duties of a class representa-
9      tive. Each Plaintiff’s declaration states that the Plaintiff wants to participate in the
10     lawsuit, but does not indicate whether they can take on the duties of a representative
11     plaintiff. The absence of any such assurance is particularly significant given that
12     each of the named Plaintiffs have now entered the United States at POEs to be in-
13     spected and processed and thus lacks a continuing, shared interest in the resolution
14     of the class claims and in prospective injunctive relief. Defs.’ Ex. 5 at ¶¶ 18–19;
15     Ellis, 657 F.3d at 986 (concluding that former employees are not adequate represent-
16     atives of a class of current employees seeking injunctive relief); Schulken v. Wash-
17     ington Mut. Bank, 2012 WL 28099, at *5 & n.2 (N.D. Cal. Jan. 5, 2012) (analogizing
18     Rule 23(a)(4) analysis to a standing analysis).
19     VI.   Plaintiffs Cannot Satisfy the Requirements for an Injunctive-Relief Class
20           Under Rule 23(b)(2).
             The requirements of a Rule 23(b)(2) injunctive-relief class cannot be met for
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       at least three reasons. First, because there is no borderwide policy or practice of a
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       failure to comply with CBP’s stated policy, Plaintiffs cannot show that the govern-
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       ment “has acted or refused to act on grounds that apply generally to the class.” See
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       Fed. R. Civ. P. 23(b)(2). The “key” to the Rule 23(b)(2) class “is the indivisible
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       nature of the injunctive or declaratory remedy warranted—the notion that the con-
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       duct is such that it can be enjoined or declared unlawful only as to all of the class
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       members or as to none of them.” Wal-Mart Stores, Inc., 564 U.S. at 360 (citation
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1      omitted). In the absence of a common policy or practice, there is no injunctive relief
2      that could be appropriate to address disparate Accardi claims.
3            Second, because 8 U.S.C. § 1252(f)(1) prohibits classwide relief that would
4      interfere with the operation of § 1225, Plaintiffs cannot show that “final injunctive
5      relief or corresponding declaratory relief is appropriate respecting the class as a
6      whole.” See Fed. R. Civ. P. 23(b)(2). As discussed above, any injunction that Plan-
7      tiffs seek enjoining “turnbacks,” whether as final or preliminary relief, would run
8      afoul of 8 U.S.C. § 1252(f)(1). See supra § I; PI Opp. Arg. § I(E). Accordingly,
9      because the injunctive relief they seek is not available, final injunctive relief is not
10     “appropriate” as required to certify and maintain a Rule 23(b)(2) class. And because
11     injunctive relief on this claim is not appropriate, there can be no “corresponding”
12     declaratory relief for purposes of Rule 23(b)(2). See Jennings v. Rodriguez, 138 S.Ct.
13     830, 851 (2018) (questioning whether declaratory relief alone that does not corre-
14     spond to injunctive relief can sustain a class). Thus, any declaratory judgment would
15     be stand-alone declaratory relief, which is not contemplated by Rule 23(b)(2). More-
16     over, the Court cannot issue a declaratory order that “would provide relief to each
17     member of the class,” Wal-Mart Stores, 564 U.S. at 360, because it is barred from
18     doing so by § 1252(f)(1).
19           Third, certification under Rule 23(b)(2) for purposes of prospective injunctive
20     relief is not appropriate because the named Plaintiffs have ceased to be subject to the
21     conduct complained of. See Ellis, 657 F.3d at 988; Wang v. Chinese Daily News,
22     Inc., 737 F.3d 538, 545 (9th Cir. 2013) (“It appears that none of the named plaintiffs
23     has standing to pursue injunctive relief on behalf of the class, as none of them is a
24     current ... employee.”); Cholakyan v. Mercedes-Benz, USA, LLC, 281 F.R.D. 534,
25     559 (C.D. Cal. 2012) (same, with regard to former car owners).
26                                        CONCLUSION
27           The Court should deny Plaintiffs’ Motion for Provisional Class Certification.
28     //


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1      DATED: September 13, 2023         Respectfully submitted,
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1                               CERTIFICATE OF SERVICE
2                                 No. 23-cv-01367-AGS-BLM
3            I certify that I served a copy of this document on the Court and all parties by
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5      will provide electronic notice and an electronic link to this document to all counsel
6      of record.
7
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